      Case 1:19-cv-03351-VEC-RWL Document 201 Filed 11/20/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X             11/20/2020
AQUAVIT PHARMACEUTICALS, INC.,                                 :
                                                               :   19-CV-3351 (VEC) (RWL)
                                    Plaintiff,                 :
                                                               :   ORDER
                  - against -                                  :
                                                               :
U-BIO MED, INC., et al.,                                       :
                                                               :
                                    Defendants.                :
---------------------------------------------------------------X

ROBERT W. LEHRBURGER, United States Magistrate Judge.

          On September 4, 2020, the Court adopted the discovery and briefing plan

proposed by the parties for determination of compensatory damages and potential

sanctions. (Dkt. 195, 196.) By December 2, 2020, the parties shall file a joint status

report.

                                                     SO ORDERED.



                                                     _______________________________
                                                     ROBERT W. LEHRBURGER
                                                     UNITED STATES MAGISTRATE JUDGE

Dated: November 20, 2020
       New York, New York

Copies transmitted this date to all counsel of record.
